Case 2:04-cr-20304-.]PI\/| Document 94 Filed 07/22/05 Page 1 of 3 Page|D 13

IN THE UNITED sTATEs DISTRICT coURT
FOR THE: wEsTERN DISTRICT oF TENNESSEE OSJUL 22 PH |,58
wESTERN DIVISION

 

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WDGF??*J:;§§;;T:HS
UNITED sTATEs oF AMERICA

Plaintiff, 0 _¢20507
Criminal No.O___- 2630‘/ Ml ’/

(30-Day Continuance)

/I/l n FFL» ll #¢w_a:)¢f.¢m

 

 

 

 

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Defendant(s).

 

C'ONSEN'I` ORDER ON CRIMINAL CASE CON'I'INUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the August, 2005,
criminal rotation calendar, but is now RESET for report at §igg
a.m. on Fridav. Auqust 26, 2005, with trial to take place on the
September, 2005 rotation calendar with the time excluded under the
Speedy Trial Act through September 16, 2005. Agreed in open court
at report date this 22nd day of July, 2005.

This document entered on the docket sheet In cemp!$ance
with Ru|e 55 andfor 32(b) FHCrP on ' '

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SO ORDERED this 22nd day of July, 2005.

@MCQ,M»
JON PHIPPS MCCALLA

TED STATES DISTRICT JUDGE

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Assista nited States ney

suarez

 

 

 

Counsel for Defendant(s)

     

UNITED STEATSDTISRICT COURT - WERSTE DISTRICT TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 94 in
case 2:04-CR-20304 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

